
BYBEE, Circuit Judge,
dissenting:
Xavier Alvarez, a California public official, stood in a public meeting and announced that he was a retired Marine, a wounded veteran, and the recipient of the Congressional Medal of Honor. Alvarez was lying on all counts. He pleaded guilty to violating the Stolen Valor Act of 2005 (“Act”), which punishes a person who “falsely represents himself or herself, verbally or in writing, to have been awarded any decoration or medal authorized by Congress for the Armed Forces of the United States.” 18 U.S.C. § 704(b). He now challenges his conviction on First Amendment grounds.
In its recent decision in United States v. Stevens, — U.S.-, 130 S.Ct. 1577, 176 L.Ed.2d 435 (2010), the Supreme Court reminded us that there are “categories of speech ... fully outside the protection of the First Amendment.” Id. at 1586. As to these categories—which the Court labeled “historic and traditional categories long familiar to the bar”—“the First Amendment has permitted restrictions upon the content of speech.” Id. at 1584 (quotation marks omitted).
For more than six decades, the Court has recognized that “false statements of fact ... belong to th[e] category of utterances which ‘are no essential part of any exposition of ideas, and are of such slight social value as a step to truth that any benefit that may be derived from them is clearly outweighed by the social interest in order and morality.’ ” Gertz v. Robert Welch, Inc., 418 U.S. 323, 340, 94 S.Ct. 2997, 41 L.Ed.2d 789 (1974) (quoting Chaplinsky v. New Hampshire, 315 U.S. 568, 572, 62 S.Ct. 766, 86 L.Ed. 1031 (1942)). The Court has stated as plain as words permit that “the erroneous statement of fact is not worthy of constitutional protection.” Id.; see also BE &amp; K Constr. Co. v. N.L.R.B., 536 U.S. 516, 531, 122 S.Ct. 2390, 153 L.Ed.2d 499 (2002) (“[FJalse statements [are] unprotected for their own sake.”); Hustler Magazine v. Falwell, 485 U.S. 46, 52, 108 S.Ct. 876, 99 L.Ed.2d 41 (1988) (“False statements of fact are particularly valueless; they interfere with the truth-seeking function of the marketplace of ideas .... ”); Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 776, 104 S.Ct. 1473, 79 L.Ed.2d 790 (1984) (false statements of fact have “no constitutional value” because they “harm both the subject of the falsehood and the readers of the statement” (quotation marks omitted)); Bill Johnson’s Rests., Inc. v. N.L.R.B., 461 U.S. 731, 743, 103 S.Ct. 2161, 76 L.Ed.2d 277 (1983) (“[F]alse statements are not immunized by the First Amendment right to freedom of speech.”); Herbert v. Lando, 441 U.S. 153, 171, 99 S.Ct. 1635, 60 L.Ed.2d 115 (1979) (“Spreading false information in and of itself carries no First Amendment credentials.”). False state*1219ments are unprotected by the First Amendment except in a limited set of contexts where such protection is necessary “to protect speech that matters,” Gertz, 418 U.S. at 341, 94 S.Ct. 2997, such as “expression critical of the official conduct of public officials,” New York Times Co. v. Sullivan, 376 U.S. 254, 268, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964). And even in these special contexts, “the knowingly false statement and the false statement made with reckless disregard of the truth, do not enjoy constitutional protection.” Garrison v. Louisiana, 379 U.S. 64, 75, 85 S.Ct. 209, 13 L.Ed.2d 125 (1964) (emphasis added).
Despite the clarity and consistency of the Supreme Court’s insistence that false statements of fact (or “false statements”) generally fall outside First Amendment protection, the majority somehow manages to “find no authority holding that false factual speech, as a general category unto itself, is among [the historically unprotected classes of speech],” Maj. Op. at 1206 (emphasis added), and concludes that “we presumptively protect ... false statements,” id. at 1217. The majority then moves from this faulty principle to an even more remarkable one: after repeating the Court’s statement in Garrison that “ ‘the knoivingly false statement ... do[es] not enjoy constitutional protection,’ ” Maj. Op. at 1207 (alteration and ellipsis in original) (quoting Garrison, 379 U.S. at 75, 85 S.Ct. 209), the majority holds that Alvarez’s knoivingly false statement of fact is entitled to full constitutional protection, and therefore that the court is “required to apply the highest level of scrutiny in [its] analysis” of the Act, id. at 37; see also id. at 3 (“[R]egulations of false factual speech must ... be subjected to strict scrutiny....”). Standing on these startling premises, the majority delivers its final blow: the Act fails strict scrutiny and is thus unconstitutional not only as applied to Alvarez, but in all its applications. See id. at 45-46.
I would hold that the Act is constitutional as applied to Alvarez and that the Act is not unconstitutionally overbroad. Because the majority has rewritten established First Amendment law, I respectfully dissent.
I
Before turning to Alvarez’s as-applied and facial challenges and the majority’s errors with respect to the particular elements of this case, I am going to begin by discussing the First Amendment framework under which the Supreme Court analyzes false statements of fact, which involves a general rule and a series of exceptions. I then explain why I think the majority has misread the cases and, in the process, turned the exceptions into the rule and the rule into an exception.
A
The First Amendment states, in relevant part: “Congress shall make no law ... abridging the freedom of speech.... ” U.S. Const, amend. I. “As a general matter, the First Amendment means that government has no power to restrict expression because of its message, its ideas, its subject matter, or its content.” United States v. Stevens, — U.S. -, 130 S.Ct. 1577, 1584, 176 L.Ed.2d 435 (2010) (alteration and quotation marks omitted) (quoting Ashcroft v. ACLU, 535 U.S. 564, 573, 122 S.Ct. 1700, 152 L.Ed.2d 771 (2002)). A content-based restriction of constitutionally protected speech “can stand only if it satisfies strict scrutiny,” United States v. Playboy Ent. Group, Inc., 529 U.S. 803, 813, 120 S.Ct. 1878, 146 L.Ed.2d 865 (2000), meaning that it “is necessary to serve a compelling state interest and that it is narrowly drawn to achieve that end,” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45, 103 S.Ct. 948, 74 L.Ed.2d 794 (1983).
But not all speech is entitled to First Amendment protection. Rather, “[t]here *1220are certain well-defined and narrowly limited classes of speech, the prevention and punishment of which has never been thought to raise any Constitutional problem” because “such utterances are no essential part of any exposition of ideas, and are of such slight social value as a step to truth that any benefit that may be derived from them is clearly outweighed by the social interest in order and morality.” Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72, 62 S.Ct. 766, 86 L.Ed. 1031 (1942). Included among these “classes of speech” are “obscenity, defamation, fraud, incitement, and speech integral to criminal conduct.” Stevens, 130 S.Ct. at 1584 (citations omitted); see also Chaplinsky, 315 U.S. at 572, 62 S.Ct. 766.
“Defamation” as a class of speech falls within the unprotected category of speech that the Court has referred to as “false statements of fact.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 340, 94 S.Ct. 2997, 41 L.Ed.2d 789 (1974). In Gertz, the Court explained the difference between false statements of fact and false ideas: “Under the First Amendment there is no such thing as a false idea. ... But there is no constitutional value in false statements of fact.” Id. at 339-40, 94 S.Ct. 2997. It then held that “the erroneous statement of fact is not worthy of constitutional protection.” Id. at 340, 94 S.Ct. 2997. The Supreme Court has regularly repeated, both inside and outside of the defamation context, that false statements of fact are valueless and generally not within the protection of the First Amendment. See, e.g., BE &amp; K Constr. Co. v. N.L.R.B., 536 U.S. 516, 531, 122 S.Ct. 2390, 153 L.Ed.2d 499 (2002) (“[F]alse statements [are] unprotected for their own sake.”); Hustler Magazine v. Falwell, 485 U.S. 46, 52, 108 S.Ct. 876, 99 L.Ed.2d 41 (1988) (“False statements of fact are particularly valueless; they interfere with the truth-seeking function of the marketplace of ideas.... ”); Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 776, 104 S.Ct. 1473, 79 L.Ed.2d 790 (1984) (false statements of fact have “no constitutional value” because they “harm both the subject of the falsehood and the readers of the statement” (quotation marks omitted)); Bill Johnson’s Rest., Inc. v. N.L.R.B., 461 U.S. 731, 743, 103 S.Ct. 2161, 76 L.Ed.2d 277 (1983) (“[F]alse statements are not immunized by the First Amendment right to freedom of speech.”); Herbert v. Lando, 441 U.S. 153, 171, 99 S.Ct. 1635, 60 L.Ed.2d 115 (1979) (“Spreading false information in and of itself carries no First Amendment credentials.”); see also Cox Broad. Corp. v. Cohn, 420 U.S. 469, 499 n. 3, 95 S.Ct. 1029, 43 L.Ed.2d 328 (1975) (Powell, J., concurring) (“[T]he First Amendment affords no constitutional protection for false statements of fact.”). Because false statements of fact do not enjoy the protection of the First Amendment, such statements may ordinarily be regulated by the government. Congress, for example, has provided criminal penalties for any number of false statements of fact uttered in a variety of contexts. See, e.g., 18 U.S.C. pt. I, ch. 47 passim (“Fraud and false statements”).
Thus, the general rule is that false statements of fact are not protected by the First Amendment.1 There is, however, an *1221important exception to this principle: where protecting a false statement is necessary “in order to protect speech that matters.” Gertz, 418 U.S. at 341, 94 S.Ct. 2997; see also BE &amp; K, 536 U.S. at 531, 122 S.Ct. 2390 (“[W]hile false statements may be unprotected for their own sake, ‘[t]he First Amendment requires that we protect some falsehood in order to protect speech that matters.’ ” (emphasis omitted) (second alteration in original) (quoting Gertz, 418 U.S. at 341, 94 S.Ct. 2997)). In New York Times Co. v. Sullivan, 376 U.S. 254, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964), the seminal case in this area, the Court extended limited First Amendment protection to libelous statements “critical of the official conduct of public officials.” Id. at 268, 84 S.Ct. 710. Because “erroneous statement is inevitable in free debate, and ... must be protected if the freedoms of expression are to have the ‘breathing space’ that they ‘need to survive,’ ” the Court feared that permitting public officials to bring tort claims against their critics based on a false statement of fact would “lead[ ] to ... ’self-censorship,’ ” deterring such critics “from voicing their criticism! ] even though it is believed to be true and even though it is in fact true.” IcL at 271-72, 279, 84 S.Ct. 710 (ellipsis omitted). In order to protect against such “self-censorship,” the Court adopted “a federal rule that prohibits a public official from recovering damages for a defamatory falsehood relating to his official conduct unless he proves that the statement was made with ‘actual malice’—that is, with knowledge that it was false or with reckless disregard of whether it was false or not.” Id. at 279-80, 84 S.Ct. 710. The Court has extended the New York Times “actual malice” rule to “public figures” even if they are not “public officials,” Curtis Publ’g Co. v. Butts, 388 U.S. 130, 155, 87 S.Ct. 1975, 18 L.Ed.2d 1094 (1967), but has “refus[ed] to extend the Neto York Times privilege to defamation of private individuals,” even with respect to matters of public concern, Gertz, 418 U.S. at 351, 94 S.Ct. 2997.2
Consistent with the principle set forth in New York Times, the Court held, in Garrison v. Louisiana, 379 U.S. 64, 85 S.Ct. 209, 13 L.Ed.2d 125 (1964), that “the knowingly false statement and the false statement made with reckless disregard of the truth, do not enjoy constitutional protection.” Id. at 75, 85 S.Ct. 209 (emphasis added); see also id. (“Calculated false*1222hood falls into that class of utterances which ‘are no essential part of any exposition of ideas (quoting Chaplinsky, 315 U.S. at 572, 62 S.Ct. 766)). In Gertz, the Court confirmed that knowing lies are excluded from the limited First Amendment protection Neiu York Times established for false statements of fact: “[T]he intentional lie ... [does not] materially advance! ] society’s interest in ‘uninhibited, robust, and wide-open’ debate on public issues.” Gertz, 418 U.S. at 340, 94 S.Ct. 2997 (quoting New York Times, 376 U.S. at 270, 84 S.Ct. 710). Although Garrison and Gertz both involved defamation, the Supreme Court and our court have extended Garrison’s rule beyond the defamation context, as will be discussed in Part I.B.2.
There is, however, an important caveat to the principle that knowingly false statements of fact are not entitled to constitutional protection. See Maj. Op. at 1213-14. The Court has recognized that some statements that, literally read, are technically “knowingly false” may be “no more than rhetorical hyperbole,” Greenbelt Coop. Publ’g Ass’n v. Bresler, 398 U.S. 6, 14, 90 S.Ct. 1537, 26 L.Ed.2d 6 (1970), or “lusty and imaginative expression,” Nat’l Ass’n of Letter Carriers, AFL-CIO v. Austin, 418 U.S. 264, 286, 94 S.Ct. 2770, 41 L.Ed.2d 745 (1974), such as satire or fiction. In Hustler, the Supreme Court held that the First Amendment protects defamatory statements about a public figure “that could not reasonably have been interpreted as stating actual facts about the public figure involved.” 485 U.S. at 50, 108 S.Ct. 876. And in Milkovich v. Lorain Journal Co., 497 U.S. 1, 110 S.Ct. 2695, 111 L.Ed.2d 1 (1990), the Court clarified that such protection “provides assurance that public debate will not suffer for lack of imaginative expression or the rhetorical hyperbole which has traditionally added much to the discourse of our Nation.” Id. at 20, 110 S.Ct. 2695 (quotation marks omitted); see also Knievel v. ESPN, 393 F.3d 1068, 1074 (9th Cir.2005) (stating that “[t]he First Amendment protects statements that cannot reasonably [be] interpreted as stating actual facts about an individual” because of “the reality that exaggeration and nonliteral commentary have become an integral part of social discourse” (quotation marks omitted) (second alteration in original)). In a sense, the Court has established that “lies” made in the context of satire and imaginative expression are not really lies at all and perhaps not really even statements of “fact,” because no reasonable listener could actually believe them to be stating actual facts.
In sum, the Supreme Court’s jurisprudence on false statements of fact involves a general rule with certain exceptions and exceptions-to-exceptions. In general, “there is no constitutional value in false statements of fact,” and so “the erroneous statement of fact is not worthy of constitutional protection.” Gertz, 418 U.S. at 340, 94 S.Ct. 2997. However, this general principle is subject to certain limited exceptions where First Amendment protection is necessary “to protect speech that matters,” id. at 341, 94 S.Ct. 2997, and to ensure that the “freedoms of expression ... have the ‘breathing space’ that they ‘need to survive,’ ” New York Times, 376 U.S. at 271-72, 84 S.Ct. 710 (alteration omitted). Accordingly, a defamatory false statement of fact made about a public figure is constitutionally protected if it is made without “knowledge that it was false or with reckless disregard of whether it was false or not.” Id. at 280, 84 S.Ct. 710. On the other hand, “the knowingly false statement and the false statement made with reckless disregard of the truth, do not enjoy constitutional protection.” Garrison, 379 U.S. at 75, 85 S.Ct. 209. The only qualifier to this rule is that statements that are technically “knowingly false” receive constitutional protection when they “c[an]not reasonably have been interpret*1223ed as stating actual facts.” Hustler, 485 U.S. at 50, 108 S.Ct. 876.
B
Notwithstanding the Court’s pronouncements on the unprotected status of false statements of fact, the majority “fínd[s] no authority holding that false factual speech, as a general category unto itself, is among [the historically unprotected classes of speech],” Maj. Op. at 1206, and concludes that “we presumptively protect ... false statements,” id. at 1217. The majority believes that, when the Supreme Court has said that “false statements of fact” are unprotected by the First Amendment, what the Court actually meant was that defamation is unprotected by the First Amendment. See id. at 1208 (“[W]e believe the historical category of unprotected speech identified in Gertz and related law is defamation, not all factual speech.”). From this premise, and after refusing to “extend” the unprotected category of speech (defamation) to false statements generally, id. at 1208, the majority suggests that false statements of fact are generally entitled to full constitutional protection, even if they are knowingly false, unless they are defamatory, fraudulent, or integral to criminal conduct, see id. at 1211-13.
The majority has effectively overruled Gertz and inverted the whole scheme. The Supreme Court has told us consistently that the general rule is that false statements of fact are unprotected, and has carved out certain limited exceptions to this principle in certain contexts. The majority flips this framework around and suggests that false statements of fact are generally unprotected only in contexts like defamation and fraud, and that outside these contexts they are fully protected. See id. at 1213 (“[T]he historical and traditional categories of unprotected false factual speech have thus far included only certain subsets of false factual statements .... ”); id. at 1213 (finding that only “certain subsets of false factual speech have been declared unprotected,” and that “[t]he Act does not fit neatly into any of those ... classes”). In other words, the majority limits the general rule to its exceptions. In my view, the majority is wrong for a number of reasons.
1
As a general matter, the majority’s principle rests on a line of reasoning that I cannot endorse: that our jurisprudence should rest on what we think the Supreme Court “means” rather than what it actually says, and thus, because the Supreme Court means “defamation” when it says “false statements of fact,” only the former represents an unprotected category of speech. The majority even considers it “erroneous[ ]” for me to “rel[y] on Gertz for its statement that false factual speech is valueless and unprotected.” Id. at 1203.
With all due respect, I believe that reliance on Gertz’s statement (and the Court’s numerous other statements to the same effect) is not only far from “erroneous[ ]” but obligatory. We do not have the authority as a lower court to limit the Court’s statements to what we believe they mean rather than what they actually say. Gertz could have used the terms “defamation” or “libel” rather than “false statements of fact” to describe the unprotected category of speech—it presumably knew what these terms mean—but it did not. Because the Court has told us unambiguously that “false statements of fact” are generally unprotected by the First Amendment, this principle should be the starting point for our analysis, not the point for the majority’s departure from the principle.3
*12242
Even if we had the authority to limit the Supreme Court’s statements to what we think they mean rather than what they actually say, the Supreme Court did (and does) mean that “false statements of fact” are generally unprotected and that (non-satirical and non-theatrical) knowingly false statements of fact are always unprotected. Supreme Court precedent, Ninth Circuit precedent, and logic compel this conclusion.
The Supreme Court has used the same framework for analyzing false statements of fact in cases involving neither defamation nor fraud as it did in New York Times, Garrison, and Gertz; these cases demonstrate that the Court’s statements regarding the general unprotected nature of “false statements of fact” and its even more conclusive statements regarding knowingly false statements of fact apply to cases outside the defamation/fraud context. In these cases involving neither defamation nor fraud, the Court began with the premise that false statements of fact are unprotected, and its entire analysis was directed toward deciding whether the application of New York Times’s “actual malice” standard was necessary in that case to protect speech that matters. Although the Court at times decided that the non-defamation case before it was such a case where New York Times’s “actual standard” was necessary, it was careful to emphasize, consistent with Garrison, that false statements made with actual malice fall outside of First Amendment protection. In other words, the only reason that there was even a need for discussion was because the statement in question was arguably made without “actual malice”; if the statement in question had been clearly uttered with actual malice, the statement would be unprotected irrespective of whether New York Times applied.
In Time, Inc. v. Hill, 385 U.S. 374, 87 S.Ct. 534, 17 L.Ed.2d 456 (1967), for example, the Court held that an award of damages under New York’s “right of privacy” law based on “allegations that[defendant] falsely reported that a new play portrayed an experience suffered by [plaintiff],” id. at 376-77, 87 S.Ct. 534, could not be sustained without “proof that the defendant published the report with knowledge of its falsity or in reckless disregard of the truth,” id. at 388, 87 S.Ct. 534. After careful analysis, rather than “through blind application of New York Times,” id. at 390, 87 S.Ct. 534, the Court concluded that “sanctions against either innocent or negligent misstatement would present a grave hazard of discouraging the press from exercising constitutional guarantees,” id. at 389, 87 S.Ct. 534. At the same time, the Court was careful to stress, relying on Garrison, that “ ‘[t]he use of calculated falsehood ... would put a different cast on the constitutional question.’ ” Id. at 390, 87 S.Ct. 534 (emphasis added) (quoting Garrison, 379 U.S. at 75, 85 S.Ct. 209). The Court declared that “the constitutional guarantees can tolerate sanctions against calculated falsehood without significant impairment of their essential function.” Id. at 389, 85 S.Ct. 209; see also id. at 390, 85 S.Ct. 209 (“What we said in Garrison ... is equally applicable [here].” (emphasis added)).
And in Pickering v. Board of Education, 391 U.S. 563, 88 S.Ct. 1731, 20 L.Ed.2d 811 (1968), the Court applied the New York Times framework to a case involving a *1225teacher who claimed that his First Amendment rights were violated when he was terminated for sending to a local newspaper a letter containing false statements of fact critical of the district superintendent. See id. at 572-74, 88 S.Ct. 1731. As in Time, the Court in Pickering started from the premise that false statements of fact are unprotected, and the only question was whether the context it was dealing with was similar enough to defamation to merit the application of New York Times’s “actual malice” rule. See id. at 574, 88 S.Ct. 1731. The Court concluded that the potential for self-censorship was sufficient to warrant New York Times’ s “actual malice” requirement, but made clear that the extent of constitutional protection was limited: “[I]n a case such as this, absent proof of false statements knowingly or recklessly made by him, a teacher’s exercise of his right to speak on issues of public importance may not furnish the basis for his dismissal from public employment.” Id. (emphasis added) (footnote omitted).4
Nothing in the Court’s recent decision in Stevens is to the contrary. The majority believes that, “[s]ince the Stevens Court saw fit to name defamation specifically, rather than false statements of fact generally, as the historical category excluded from constitutional protection, ... the historical category of unprotected speech identified in Gertz and related law is defamation, not all factual speech.” Maj. Op. at 1223. But Stevens’s use of the word “defamation” is nothing new. As far back as Chaplinsky, the Court has frequently used the words “defamation” and “libel” to describe one of the categories of unprotected speech. See 315 U.S. at 572, 62 S.Ct. 766 (including among the unprotected “classes of speech” “the lewd and obscene, the profane, the libelous, and the insulting or ‘fighting’ words” (emphasis added)). Then, in Gertz, the Court used the broader term “false statements of fact” to describe this category. 418 U.S. at 340, 94 S.Ct. 2997; see also BE &amp; K, 536 U.S. at 531, 122 S.Ct. 2390; Hustler, 485 U.S. at 52, 108 S.Ct. 876. Because most of the Court’s opinions in this historically unprotected category have dealt with defamation, and because the Court has used both the terms “defamation” and “false statements of fact” to describe speech within the unprotected category, there is nothing interesting about Stevens’s use of the term “defamation.” If Stevens truly stands for the proposition that only defamatory statements—and not false statements of fact generally—constitute the unprotected category, then Stevens overruled sub silentio every Supreme Court case using the gen-' eral term “false statements of fact” and every case applying the New York TimesGertz-Garrison framework outside of the defamation context. I find this hard to believe.
Similar considerations demonstrate why the majority is misguided in relying upon Stevens’s statement that “ ‘[o]ur decisions [following Chaplinsky ] cannot be taken as establishing a freewheeling authority to declare new categories of speech outside the scope of the First Amendment.’ ” Maj. Op. at 1209 (second alteration in original) (quoting Stevens, 130 S.Ct. at 1586); see also id. at 1207-08 (“Unlike our dissenting colleague, we are not eager to extend a *1226statement (often quoted, but often qualified) made in the complicated area of defamation jurisprudence into a new context. ...”). Stevens involved the potential creation of a truly “new” category of unprotected speech: “depictions of animal cruelty.” 130 S.Ct. at 1584. This case, in contrast, involves a preexisting category of unprotected speech: false statements of fact. Thus, no “expansion” of First Amendment jurisprudence is necessary to hold that Alvarez’s false statements are not protected.
Our own cases are in accord with the principle that false statements of fact (not just defamatory or fraudulent false statements) are generally unprotected by the First Amendment, although we have recognized that “constitutional protection is afforded some false statements.” Johnson v. Multnomah County, 48 F.3d 420 (9th Cir.1995) (emphasis added). We have often applied the New York Times-Garrison-Gertz framework outside of the defamation and fraud context.
In Clipper Exxpress v. Rocky Mountain Motor Tariff Bureau, Inc., 690 F.2d 1240 (9th Cir.1982), for example, we held that “[tjhere is no first amendment protection for furnishing with predatory intent false information to an administrative or adjudicatory body,” and thus the First Amendment did not shield the defendants from antitrust liability. Id. at 1261; see also id. (“The first amendment has not been interpreted to preclude liability for false statements .... ‘[T]here is no constitutional value in false statements of fact.’ ” (quoting Gertz, 418 U.S. at 340, 94 S.Ct. 2997)). We “recogniz[ed] that under certain circumstances allowing the imposition of liability for statements can hamper debate, see New York Times,” which “may suggest that a court should adopt a stricter standard of proof,” but we determined that defendants’ statements were unprotected regardless of the correct standard of proof because “defendants knew the falsity of their statements.” Id. at 1262 (emphases added). In other words, the defendants’ knowledge of the falsity of their statements placed the defendants’ statements clearly outside of the First Amendment. Thus, unlike in Time and Pickering, there was no need for any further discussion of whether the New York Times “actual malice” requirement applied. See id.
More recently, in Hoffman v. Capital Cities/ABC, Inc., 255 F.3d 1180 (9th Cir.2001), we applied the New York Times framework to a case in which the plaintiff claimed that his common law right of publicity had been violated by the defendant’s publication of an altered photograph of the plaintiffs name and likeness, see id. at 1183, which “create[d] a false impression in the minds of the public that they were seeing [the plaintiffs] body,” id. at 1186 (quotation marks omitted). Regarding the defendant’s First Amendment defense, we determined that the question was whether the district court correctly held that the First Amendment did not protect the defendant’s publication because the defendant “published that image knowing it was false and intending that the readers believe the falsehood.” Id. (emphasis added). Although we eventually concluded that the district court erred in finding that “actual malice” existed, id. at 1189, the important point is that a finding of knowledge as to falsity would have meant that the defendant’s publication was not protected by the First Amendment, irrespective of the fact that the purported falsehood was not defamatory or fraudulent.5
*1227Under the majority’s view, the Supreme Court’s decisions in Time and Pickering, and our decisions in Clipper Exxpress and Hoffman, are all disapproved, if not overruled. But even putting aside these precedents, I do not believe that the majority’s principle is logical. Given that the Court has clearly recognized defamation as one of the exceptional situations where protecting certain false statements is necessary to “protect speech that matters,” Gertz, 418 U.S. at 340, 94 S.Ct. 2997, I cannot see how Gertz could have meant “defamation” when it said that “false statements of fact” are unprotected. If that were true, there would be nothing left of Gertz’s statement that false statements of fact fall outside of First Amendment protection. In other words, the majority interprets Gertz the following way: defamation is unprotected by the First Amendment, but it is necessary to protect defamation in order to protect speech that matters. Under the majority’s logic, Gertz is internally inconsistent, and the exception has swallowed up the rule.
3
Although I believe that it is clear that the Supreme Court’s statements regarding false statements of fact extend outside of the defamation and fraud context, I nevertheless find it necessary to respond to the majority’s misguided “bona fide harm” theory. The majority asserts that the Supreme Court has extended the New York Times-Gamson-Gertz framework only to false statements “likely to cause a bona fide harm,” such as those that constitute fraud. Maj. Op. at 1211. In other words, the majority suggests that a false statement loses First Amendment protection only if it is likely to cause a cognizable—• indeed, “irreparable”'—-harm. Id. at 1207. Based on this premise, the majority might assert that the Court applied the New York Times-Garrisonr-Gertz framework in Time, Pickering, Clipper Exxpress, and Hoffman because the false statements in those cases were likely to cause a cognizable harm, but the false statements punished by the Stolen Valor Act are fully protected because these statements do not generally produce what the majority considers to be a “bona fide harm.” See id. at 1212 n. 12.1 respectfully disagree.
a
The likelihood of a “bona fide harm” has nothing to do with whether a category of speech loses First Amendment protection. Stevens rejected the notion that the First Amendment protection afforded a class of speech depends on a consideration of the “societal costs” of the class of speech. 130 S.Ct. at 1585. Rather, whether a category of speech is constitutionally protected is a historical question that depends on whether a class of speech has traditionally been thought to be of low First Amendment value. As the Supreme Court reiterated in Stevens-.
From 1791 to the present, ... the First Amendment has permitted restrictions upon the content of speech in a few limited areas, and has never include[d] a freedom to disregard these traditional limitations. These historic and traditional categories long familiar to the bar ... are well-defined and narrowly limited classes of speech, the prevention and punishment of which has never been thought to raise any Constitutional problem.
Id. at 1584 (emphases added) (quotation marks and citations omitted) (alteration in original); see also id. at 1586 (noting that *1228the Court’s First Amendment cases regarding speech outside First Amendment protection have “grounded[their] analysis in a previously recognized, long-established category of unprotected speech” (emphasis added)); Chaplinsky, 315 U.S. at 572, 62 S.Ct. 766 (describing unprotected classes of speech as “utterances [that] are no essential part of any exposition ideas, and are of such slight social value as a step to truth that any benefit that may be derived from them is clearly outweighed by the social interest in order and morality” (emphases added)). Once again, decades of Supreme Court case law make clear that false statements of fact are one of those classes of speech that are generally considered to be of low First Amendment value and therefore have traditionally fallen outside First Amendment protection.
I agree with the majority that the Court’s statements in this regard cannot be interpreted as “absolute proposition^],” Maj. Op. at 1202-03, because the Court has established that, although “false statements may be unprotected for their own sake,” BE &amp; K, 536 U.S. at 531, 122 S.Ct. 2390, the Constitution “requires that we protect some falsehood in order to protect speech that matters,” Gertz, 418 U.S. at 341, 94 S.Ct. 2997 (emphasis added). But the protection the Court has afforded for “some falsehood” has been limited to narrow subsets within the historically unprotected category—certain false statements of fact critical of public figures if made without “knowledge that[they are] false or with reckless disregard of whether [they are] false or not,” New York Times, 376 U.S. at 280, 84 S.Ct. 710; certain false statements of fact in contexts similar to defamation, such as intrusions on a public figure’s privacy, see Time, 385 U.S. at 376-77, 388, 87 S.Ct. 534, and criticisms of one’s superior, see Pickering, 391 U.S. at 572-74, 88 S.Ct. 1731; and certain false statements of fact that “cfannot] reasonably have been interpreted as stating actual facts,” Hustler, 485 U.S. at 50, 108 S.Ct. 876. The fact that the Supreme Court has extended limited constitutional protection to some false statements of fact in defamation and defamation-like cases and that these cases generally involve a cognizable harm to a particular party does not demonstrate that a cognizable harm is a prerequisite before a false statement of fact loses its First Amendment protection. Rather, the spheres of protection carved out in New York Times, Hustler, and like cases represent limited exceptions to the general rule that false statements of fact are not protected by the First Amendment, irrespective of a cognizable harm to a specific person. See Keeton, 465 U.S. at 776, 104 S.Ct. 1473 (false statements of fact have “no constitutional value” because they “harm both the subject of the falsehood and the readers of the statement” (first emphasis added) (quotation marks omitted)). If a false statement of fact does not fall within one of these exceptions, it falls within the general historically unprotected category of speech, and the absence of “harm” is irrelevant.
b
The Court’s obscenity jurisprudence is an embarrassment to the majority’s newly-minted “harm” requirement. The Court has long held that obscene speech is not protected by the First Amendment, see Chaplinsky, 315 U.S. at 572, 62 S.Ct. 766, because it is “utterly without redeeming social importance,” Roth v. United States, 354 U.S. 476, 484, 77 S.Ct. 1304, 1 L.Ed.2d 1498 (1957), and not because the states have satisfied some “proof of harm” requirement. In Miller v. California, 413 U.S. 15, 93 S.Ct. 2607, 37 L.Ed.2d 419 (1973), the Supreme Court defined works that are “obscene” and therefore fall outside the protection of the First Amendment, and “bona fide harm” is notably *1229absent as a requirement under its definition. The Court stated:
[W]e now confine the permissible scope of [obscenity] regulation to works which depict or describe sexual conduct. That conduct must be specifically defined by the applicable state law, as written or authoritatively construed. A state offense must also be limited to works which, taken as a whole, appeal to the prurient interest in sex, which portray sexual conduct in a patently offensive way, and which, taken as a whole, do not have serious literary, artistic, political, or scientific value.
Miller, 413 U.S. at 24, 93 S.Ct. 2607 (footnote omitted).
We might say, of course, that obscenity is generally harmful, or that obscenity has traditionally been thought to be harmful given that obscenity regulations represent a legislative determination that obscene materials generally degrade our morals or endanger public safety. But the majority holds the Stolen Valor Act unconstitutional because it does not require proof that any particular statement causes harm. While acknowledging Congress’s finding that false claims like Alvarez’s “damage the reputation and meaning of [military] decorations and medals,” Stolen Valor Act of 2005, Pub.L. No. 109-437, § 2(1), 120 Stat. 3266 (2005) (the “Findings”); Maj. Op. at 1209-10, the majority emphasizes that the Findings “do not actually limit the application of the Act” because “[t]here is no requirement in the Act that the government bear the burden to prove that the defendant’s speech or writing proximately caused damage to the reputation and meaning of military decorations and medals,” Maj. Op. at 1210 (second emphasis added).6
The problem is that this is true of obscenity regulations as well; although obscenity laws are generally targeted at some cognizable harm, they do not explicitly require that the government even identify, much less prove, a cognizable harm in every case. Indeed, it was of no concern to the Court that “there [wa]s no conclusive proof of a connection between antisocial behavior and obscene material,” because “[n]othing in the Constitution prohibits a State from reaching such a conclusion and acting on it legislatively simply because there [wa]s no conclusive evidence or empirical data.” Paris Adult Theatre I v. Slaton, 413 U.S. 49, 60-61, 63, 93 S.Ct. 2628, 37 L.Ed.2d 446 (1973). Thus, the Court’s obscenity jurisprudence demonstrates that a “harm” requirement simply does not exist in terms of the protection afforded a category of speech.
c
The majority places great weight on the Court’s decision in Schenck v. United States, 249 U.S. 47, 39 S.Ct. 247, 63 L.Ed. 470 (1919), in which the Court famously held that “[t]he question in every case is whether the words used are used in such circumstances and are of such a nature as to create a clear and present danger that they will bring about the substantive evils that Congress has a right to prevent.” Id. at 52, 39 S.Ct. 247. The majority even suggests that the “clear and present danger” rule is the test “for defining the relevant subset of false speech that is historically unprotected.” Maj. Op. at 1214; see also id. at 1215 (“Following Schenck, ... we might articulate the class of false factual speech unprotected by the First Amendment to be that false factual speech which creates a clear and present danger of a harm Congress has a right to prevent.”).
The majority is wrong. The Court has never used the “clear and present danger” test to determine whether a category of *1230speech is protected in the first instance. Much to the contrary, the Court has specifically held that the existence of a “clear and present danger” of harm is irrelevant in the context of unprotected categories of speech. In Beauharnais v. Illinois, 343 U.S. 250, 72 S.Ct. 725, 96 L.Ed. 919 (1952), the Court stated:
Libelous utterances not being within the area of constitutionally protected speech, it is unnecessary, either for us or for the State courts, to consider the issues behind the phrase “clear and present danger.” Certainly no one would contend that obscene speech, for example, may be punished only upon a showing of such circumstances. Libel, as we have seen, is in the same class.
Id. at 266, 72 S.Ct. 725.
Schenck dealt with a content-based restriction of a category of speech that would now be considered clearly entitled to First Amendment protection—indeed, there are few categories of speech more valuable in terms of First Amendment principles than opinions critical of the government on matters of national security, such as military conscription. See Schenck, 249 U.S. at 51, 39 S.Ct. 247; see also Brandenburg v. Ohio, 395 U.S. 444, 448-49, 89 S.Ct. 1827, 23 L.Ed.2d 430 (1969); Elena Kagan, The Changing Faces of First Amendment Neutrality: R.A.V. v. St. Paul, Rust v. Sullivan, and the Problem of Content-Based Underinclusion, 1992 Sup. Ct. Rev. 29, 39 (1992) (providing “seditious advocacy” as an example of “constitutionally protected speech” (emphasis added)). Schenck and cases like it did not consider whether a category of speech is protected by the First Amendment—again, that question depends on whether the speech has historically been considered of low First Amendment value. Rather, the question in those cases was whether the government’s interest in preventing lawless action—that is, in preventing the harm potentially produced by protected speech—was sufficient to overcome the First Amendment interests in a particular context, see Kagan, 1992 Sup. Ct. Rev. at 39 (“In deciding [a case involving seditious advocacy,] ... the Court will ask ... whether the government has a sufficient reason to restrict the speech actually affected.”), which depended on whether the speech at issue “create[d] a clear and present danger,” Schenck, 249 U.S. at 52, 39 S.Ct. 247.
d
Finally, the majority’s reliance on statutes criminalizing fraud and similar crimes, see Maj. Op. at 1211-13, is both flawed and puzzling. Although fraud statutes generally require that the fraudulent statement cause an injury, and although the Supreme Court has held that fraudulent statements are not entitled to First Amendment protection, see, e.g., Ill. ex rel. Madigan v. Telemarketing Assocs., Inc., 538 U.S. 600, 612, 123 S.Ct. 1829, 155 L.Ed.2d 793 (2003), it stretches logic to conclude from these holdings that a cognizable injury is necessary for a category of speech to fall outside First Amendment protection. That is, just because fraud statutes may require some proof of harm, and such statutes have been held constitutional, does not mean that in order for a statute such as the Stolen Valor Act to be constitutional, it too must require proof of harm.7 To so hold is a formal error in *1231logic. The notion that a regulation of unprotected speech requires individualized proof of a cognizable harm is inconsistent with the Supreme Court’s First Amendment jurisprudence.
In sum, the better interpretation of the Supreme Court’s cases and those of our court is that false statements of fact—as a general category—fall outside of First Amendment protection except in certain contexts where such protection is necessary “to protect speech that matters.” If a false statement does not fall within one of these exceptions, the general rule applies. And even in the exceptional contexts, a false statement that is neither satirical nor theatrical is unprotected if it is made with knowledge or reckless disregard of falsity.
II
With these principles in mind, I now turn to Alvarez’s as-applied challenge.
A
In a public meeting, Alvarez stated: “I’m a retired marine of 25 years. I retired in the year 2001. Back in 1987, I was awarded the Congressional Medal of Honor. I got wounded many times by the same guy. I’m still around.” Alvarez does not deny that his statement that he received the Congressional Medal of Hon- or was a statement of fact, that this statement was false, and that he made the statement with full knowledge of the statement’s falsity. He does not attempt to defend his actions as hyperbole or imaginative expression, nor does he claim that he was misunderstood in context. Alvarez also knew when he uttered the statement that his claim to have been a Marine was false, that he had not served in any branch of the armed forces for twenty-five years, and that no one had shot and wounded him while-he was in the service of his country.
All things considered, Alvarez’s self-introduction was neither a slip of the tongue nor a theatrical performance; it was simply a lie. Under the rules announced in Garrison and its progeny, Alvarez’s knowingly false statement is excluded8 from the limited spheres of protection carved out by the Supreme Court for false statements of fact necessary to protect speech that matters, and it is therefore not entitled to constitutional protection. See Garrison, 379 U.S. at 75, 85 S.Ct. 209 (“[T]he knowingly false statement ... do[es] not enjoy constitutional protection.”); Gertz, 418 U.S. at 340, 94 S.Ct. 2997 (“[T]he intentional he ... [does not] materially advance[] society’s interest in ‘uninhibited, robust, and wide-open’ debate on public issues.” (quoting New York Times, 376 U.S. at 270, 84 S.Ct. 710)); Time, 385 U.S. at 389, 87 S.Ct. 534 (“[T]he constitutional guarantees can tolerate sanctions against *1232calculated falsehood without significant impairment of their essential function.”).9 Thus, there is no need to apply strict scrutiny.10
B
The Supreme Court’s clear rules are sufficient to doom Alvarez’s as-applied challenge,11 but even apart from these rules, none of the concerns that animated New York Times and its progeny should shield Alvarez’s statement. New York Times imposed an “actual malice” requirement on defamation suits brought by public figures trying to suppress criticism of them as public figures. See 376 U.S. at 282, 84 S.Ct. 710 (“We hold today that the Constitution delimits a State’s power to award damages for libel in actions brought by public officials against critics of their official conduct." (emphasis added)); Gertz, 418 U.S. at 334, 94 S.Ct. 2997 (discussing “a constitutional privilege intended to free criticism of public officials from the restraints imposed by the common law of defamation” (emphasis added)). In particular, the New York Times Court found that the “actual malice” standard was necessary to prevent defamation from being used by public officials as a civil substitute for criminal sedition: “What a State may not constitutionally bring about by means of a criminal statute is likewise beyond the reach of its civil law of libel” because “damage awards ... may be markedly more inhibiting than the fear of prosecution.” 376 U.S. at 277, 84 S.Ct. 710 (footnote omitted). The Court was determined not to let public officials suppress or chill criticism of their official actions by threat of a lawsuit. And the Court was confident that public officials, because of their public position, would “have a ... realistic opportunity to counteract false statements” due to their “significant[ ] ... access to the channels of effective communication.” Gertz, 418 U.S. at 344, 94 S.Ct. 2997.
*1233The principles in New York Times do not extend to false self-promotion. Nor do these principles extend to false self-promotion by public officials—that is, to officials who portray themselves in a false but positive light. Public discourse requires that citizens are equally free to praise or to condemn their government and its officials, but I can see no value in false, self-aggrandizing statements by public servants. Indeed, the harm from public officials outright lying to the public on matters of public record should be obvious. If the Stolen Valor Act “chills” false autobiographical claims by public officials such as Alvarez, our public discourse will not be the worse for the loss.
C
The majority provides two main reasons for why the Act is unconstitutional as applied to Alvarez. First, the majority reasons that the Act is unconstitutional because it “does not require a malicious violation, nor does it contain any other requirement or element of scienter.... Without a scienter requirement to limit the Act’s application, the statute raises serious constitutional concerns ... because the First Amendment clearly prohibits criminally punishing negligent speech about matters of public concern.” Maj. Op. at 1209 (citing Gertz, 418 U.S. at 340, 347, 94 S.Ct. 2997).
For one thing, Gertz does not stand for this proposition; in Gertz, the Supreme Court “refus[ed] to extend the New York Times privilege to defamation of private individuals,” even though the subject matter was a matter of public concern. Gertz, 418 U.S. at 350, 94 S.Ct. 2997 (emphasis added). But even accepting that false statements of fact made about oneself can be punished only if they are made with “actual malice” (a principle that is not clearly true), this requirement is irrelevant to Alvarez’s as-applied challenge because there is no dispute that Alvarez did make his false statement with “actual malice”— that is, knowingly.12 If anything, the lack of a malice requirement is relevant only to Alvarez’s facial challenge, which I will discuss in Part III.13
Second, the majority holds that the Act is unconstitutional because it does not require that the false statement proximately cause an “irreparable ” harm. Maj. Op. at 1207. As discussed above, the First Amendment contains no such requirement, see Part I.B.3, supra, and thus the Act’s failure to require harm is irrelevant to the determination of whether it is unconstitutional.
But even if the First Amendment demanded some proof of harm, the majority has supplied no reason to question Congress’s determination that “[fraudulent claims surrounding the receipt of ... [military] decorations and medals awarded by the President or the Armed Forces of the United States damage the reputation and meaning of such decorations and medals.” Stolen Valor Act of 2005, Pub.L. No. 109— 437, § 2(1), 120 Stat. 3266 (2006). When George Washington created the Badge of Military Merit, the predecessor to the Purple Heart, he wished to honor those who performed “singularly meritorious action” with “the figure of a heart in purple cloth.” Those who demonstrated “unusual gallantry, ... extraordinary fidelity, and essential service in any way, [would] meet with a due reward.” At the same time, he or*1234dered that, “[s]hould any who are not entitled to the honors, have the insolence to assume the badges of them, they shall be severely punished.” General Orders of George Washington Issued at Newburgh on the Hudson, 1782-1783, at 34-35 (Edward C. Boynton, ed., 1883) (reprint 1909) (Order of August 7, 1782). Such false representations not only dishonor the decorations and medals themselves, but dilute the select group of those who have earned the nation’s gratitude for their val- or. Every nation needs to honor heroes, to thank them for their selflessness and to hold them out as an example worthy of emulation. The harm flowing from those who have crowned themselves unworthily is surely self-evident.
The majority finds Congress’s purpose inadequate because the Act is not expressly limited to statements that cause harm, see Maj. Op. at 1209-10 (“[WJhile the ‘Findings’ identify the injury the Act targets, they do not actually limit the application of the Act.”), and because “[tjhere is no requirement in the Act that the government bear the burden to prove that the defendant’s speech or writing proximately caused damage to the reputation and meaning of military decorations and medals,” id. (emphases added). Because the majority finds “no readily apparent reason for assuming, without specific proof, that the reputation and meaning of military decorations is harmed every time someone lies about having received one,” the majority holds the Act unconstitutional. Id. (emphasis added).
But the government does not have to prove, on a case-by-case basis, that the statement of a single defendant damaged the reputation of a military award. The obscenity cases are again instructive. In Paris Adult Theatre I, the Court rejected the cry for “scientific data ... demonstrating] that exposure to obscene material adversely affects men and women or their society.” 413 U.S. at 60, 93 S.Ct. 2628. Instead, the Court said that legislatures could rely on “various unprovable assumptions,” the same kinds of “assumptions [that] underlie much lawful state regulation of commercial and business affairs,” such as federal securities laws, antitrust laws, environmental laws, and a “host” of others. Id. at 61-62, 93 S.Ct. 2628. Even in areas touched by the First Amendment, “[t]he fact that a congressional directive reflects unprovable assumptions about what is good for the people, including imponderable aesthetic assumptions, is not a sufficient reason to And that statute unconstitutional.” Id. at 62, 93 S.Ct. 2628. Given the impossibility of proving the kind of “reputational harm” demanded by the majority, it is no wonder that neither Congress nor the Constitution requires it.
What would Alvarez have had to say to satisfy the majority’s newfound harm standard? The majority itself concedes that Alvarez’s statement was a “deliberate and despicable [lie],” Maj. Op. at 1216, that it was a “worthless, ridiculous, and offensive untruth[ ],” and that Alvarez “was proven to be nothing more than a liar,” id. at 1217. He was indeed “more” than that. The hubris of Alvarez’s claim to have received the Congressional Medal of Honor in 1987 may not be apparent to ordinary Americans, and it may not have been obvious at the joint meeting of the water districts, but it would not have been lost on the men and women who are serving or have served in our armed forces. By his statement, Alvarez claimed status in a most select group: American servicemen who lived to receive the Congressional Medal of Honor. No living soldier has received the Congressional Medal of Honor since the Vietnam War. Greg Jaffe and Craig Whitlock, Pentagon Recommends Medal of Honor for a Living Soldier, The Washington Post, July 1, 2010, available at http://www. washingtonpost.com/wp-dyn/content/ *1235article/2010/06/30/AR2010063005346.html (last visited July 6, 2010). Indeed, no Congressional Medal of Honor was awarded to any soldier participating in the Gulf War, and for our conflicts over the past decade, only two were awarded for actions in Somalia, four for actions in Iraq, and two for actions in Afghanistan—all posthumously. Id. Alvarez’s statements dishonor every Congressional Medal of Honor winner, every service member who has been decorated in any away, and every American now serving. Such “insolence ... [may] be ... punished.”14
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Alvarez’s knowing lie is not entitled to constitutional protection. Thus, there is no need to subject the Stolen Valor Act to strict scrutiny. I would hold that the Stolen Valor Act is constitutional as applied to him. I turn now to Alvarez’s facial challenge.
Ill
The majority holds that the Act is “facially invalid under the First Amendment.” Maj. Op. at 1217. Some of the majority’s analysis sounds in the overbreadth doctrine, but because the majority does not actually apply this doctrine, its facial holding is presumably based on the reasoning “that no set of circumstances exists under which the Act would be valid.” United States v. Salerno, 481 U.S. 739, 746, 107 S.Ct. 2095, 95 L.Ed.2d 697 (1987). This is not surprising given that the majority believes that the Act is unconstitutional as applied to Alvarez, who is perhaps the prototypical candidate for a constitutional application of the Act. Because I believe that the Act is constitutional as applied to Alvarez, my conclusion regarding the facial constitutionality of the Act necessarily rests on a discussion of Alvarez’s over-breadth challenge. I would hold that because any overbreadth of the Act can be eliminated by construction and is, in any event, far from “substantial,” Broadrick v. Oklahoma, 413 U.S. 601, 615, 93 S.Ct. 2908, 37 L.Ed.2d 830 (1973), the Act is facially constitutional.
The overbreadth doctrine is, literally, an extraordinary doctrine, because it represents an exception to the usual rules of Article III standing. Ordinarily, “a person to whom a statute may constitutionally be applied will not be heard to challenge that statute on the ground that it may conceivably be applied unconstitutionally to others, in other situations not before the Court.” Broadrick, 413 U.S. at 610, 93 S.Ct. 2908. However, the Supreme Court has carved out an exception to this standing doctrine in the First Amendment area because “the First Amendment needs breathing space” and an overly broad statute can result in intolerable self-censorship. Id. at 611, 93 S.Ct. 2908. Thus, the Court has “permitted [litigants] to challenge a statute not because their own rights of free expression are violated, but because of a judicial prediction or assumption that the statute’s very existence may cause others not before the court to refrain from constitutionally protected speech or expression.” Id. at 612, 93 S.Ct. 2908. “If such an overbreadth challenge succeeds, the prosecution fails regardless of the nature of the defendant’s own conduct,” Wurtz v. Risley, 719 F.2d 1438, 1440 (9th Cir.1983), because a successful over-breadth challenge renders a statute unconstitutional and, therefore, “invalid in all its *1236applications,” Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469, 483, 109 S.Ct. 3028, 106 L.Ed.2d 388 (1989). Thus, the doctrine is employed “sparingly and only as a last resort.” Broadrick, 413 U.S. at 613, 93 S.Ct. 2908.
In Broadrick, the Court announced what has become the fundamental rule in the First Amendment overbreadth analysis: in order for a statute to be held unconstitutionally overbroad, “the overbreadth of [the] statute must not only be real, but substantial as well, judged in relation to the statute’s plainly legitimate sweep.” Id. at 615, 93 S.Ct. 2908 (emphasis added).15 “[T]he mere fact that one can conceive of some impermissible applications of a statute is not sufficient to render it susceptible to an overbreadth challenge .... [T]here must be a realistic danger that the statute itself will significantly compromise recognized First Amendment protections ... for it to be facially challenged on overbreadth grounds.” Members of City Council of Los Angeles v. Taxpayers for Vincent, 466 U.S. 789, 800-01, 104 S.Ct. 2118, 80 L.Ed.2d 772 (1984) (emphasis added). The Court elaborated on the meaning of “substantial” over-breadth in New York State Club Association v. City of New York, 487 U.S. 1, 108 S.Ct. 2225, 101 L.Ed.2d 1 (1988), and held that the party challenging the law must demonstrate not just from the text of the statute but also “from actual fact that a substantial number of instances exist in which the [l]aw cannot be applied constitutionally.” Id. at 14, 108 S.Ct. 2225 (emphasis added). And in United States v. Williams, 553 U.S. 285, 128 S.Ct. 1830, 170 L.Ed.2d 650 (2008), the Court suggested that Broadrick’s rule actually involves two requirements, namely that the statute’s overbreadth must be substantial (1) “in an absolute sense” and (2) “relative to the statute’s plainly legitimate sweep.” Id. at 292, 128 S.Ct. 1830 (“[W]e have vigorously enforced the requirement that a statute’s overbreadth be substantial, not only in an absolute sense, but also relative to the statute’s plainly legitimate sweep.”).
In sum, the party asserting the over-breadth challenge has a difficult burden to satisfy: he must demonstrate that the statute is substantially overbroad both in an absolute sense and relative to the legitimate sweep of the statute, id., and must make such a showing based both on the text of the statute and on actual fact, N.Y. State Club, 487 U.S. at 14, 108 S.Ct. 2225.
Athough the majority opinion does not formally apply overbreadth analysis to the Stolen Valor Act, it does provide a number of examples of speech potentially reached by the Act that are not present in Avarez’s particular case. Thus, I will conduct my overbreadth analysis using these examples and those provided by Avarez. Based on the majority’s and Avarez’s examples, the Stolen Valor Act could arguably be held unconstitutionally overbroad for two main reasons: (1) the Act does not contain a scienter requirement and might, therefore, reach inadvertent violations of *1237the Act; and (2) the Act could be applied to satire or imaginative expression. I address each of these potential applications of the Act in turn.
A
The majority proclaims that the Act is unconstitutional because it “does not require a malicious violation, nor does it contain any other requirement or element of scienter.... Without a scienter requirement to limit the Act’s application, the statute raises serious constitutional concerns ... because the First Amendment clearly prohibits criminally punishing negligent speech about matters of public concern.” Maj. Op. at 1209 (citing Gertz, 418 U.S. at 340, 347, 94 S.Ct. 2997). It is not clear from the majority’s opinion exactly what it means by a “negligent” false claim of military honor, but the only plausible instance of such negligence that I can conceive of is an ambiguous statement that is incorrectly understood to have claimed receipt of a military award, when in fact the person did not actually make any such claim.16 For example, one could imagine a person saying “I have a Medal of Honor” and someone mistakenly interpreting him to mean that he has been awarded the Congressional Medal of Honor, even though the speaker means only that he merely possesses it, perhaps as a family heirloom.
However, such mistaken false statements do not present a constitutional problem for the Act. First, the Act is amenable to a reasonable construction that precludes its application to these kinds of statements. Second, even if the Act could be interpreted to reach these kinds of mistaken false statements, and even if such statements were entitled to constitutional protection (which is not clear), this potential sweep of the Act does not even come close to “substantial” overbreadth.
1
The first step in the overbreadth analysis is to determine whether the Stolen Valor Act actually covers statements that can be mistakenly interpreted to be false claims of military awards. See Williams, 553 U.S. at 293, 128 S.Ct. 1830 (“The first step in overbreadth analysis is to construe the challenged statute; it is impossible to determine whether a statute reaches too far without first knowing what the statute covers.”). Crucially, the Supreme Court has established that “[fjacial overbreadth has not been invoked when a limiting construction has been or could be placed on the challenged statute.” Broadrick, 413 U.S. at 613, 93 S.Ct. 2908 (emphasis added); see also Hooper v. California, 155 U.S. 648, 657, 15 S.Ct. 207, 39 L.Ed. 297 (1895) (“[Ejvery reasonable construction must be resorted to in order to save a statute from unconstitutionality.”). In other words, even if the Act could possibly be interpreted to reach some constitutionally protected speech, the Act will not be held unconstitutionally overbroad if it is also “ ‘readily susceptible’ ” to a construction that eliminates such overbreadth. Stevens, 130 S.Ct. at 1592 (quoting Reno v. ACLU, 521 U.S. 844, 884, 117 S.Ct. 2329, 138 L.Ed.2d 874 (1997)).17
*1238The Stolen Valor Act punishes a person who “falsely represents himself or herself’ to have received a military award authorized by Congress. 18 U.S.C. § 704(b) (emphasis added). Webster’s first definition of the word “represent” is “[t]o bring clearly before the mind: [to] cause to be known ... :[to] present esp. by description.” WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 1926 (2002). Under this definition, an ambiguous statement that could conceivably be misinterpreted to claim receipt of a military award could not be punished under the Act because such a statement would not “bring clearly before the mind” of the listener that the speaker has described himself as having won the award, particularly when (as will almost always be the case) the context of the statement makes it obvious that the speaker is not making such a representation.
For example, Congress has made no attempt to preempt the use of the phrase “medal of honor,” and any number of universities and high schools award some kind of a “medal of honor.” The recipients may truthfully represent themselves as “medal of honor” winners, but no one should fear prosecution under the Stolen Valor Act. Congress was quite careful to define “decoration[s] or medal[s]” as those “authorized by Congress for the Armed Forces of the United States.” 18 U.S.C. § 704(b). And in the special case of the Medal of Honor, Congress described it as “a Congressional Medal of Honor”—presumably to distinguish it from other medals of hon- or—and defined it as “a medal of honor awarded under [10 U.S.C. §§ 3741, 6241, or 8741, or 14 U.S.C. § 491].” 18 U.S.C. § 704(c)(2)(A) (emphasis added). No one reading the Act should have any question that he or she may continue to use the term “medal of honor” to denote those medals of honor awarded by our nation’s educational institutions. The Stolen Valor Act reaches only those who claim to have received the Congressional Medal of Hon- or, as defined in the U.S. Code.
In sum, as long as the Act is correctly applied according to a reasonable interpretation of the word “represents,” it will not sweep in ambiguous statements that can merely be mistakenly interpreted as a false claim of a eongressionally authorized military award. Thus, because a reasonable “limiting construction”—indeed, the most reasonable construction—can be placed on the word “represent” that precludes its application to such statements, the Act is not overbroad in this regard. Broadrick, 413 U.S. at 613, 93 S.Ct. 2908; see also Hooper, 155 U.S. at 657, 15 S.Ct. 207.
2
Even if mistaken false statements were theoretically subject to punishment under the Stolen Valor Act, common sense tells us that such punishment will be extraordinarily rare if not nonexistent, both “in an absolute sense” and “relative to the statute’s plainly legitimate sweep.” Williams, 553 U.S. at 292, 128 S.Ct. 1830. In an absolute sense, Alvarez cannot (and has not even attempted to) demonstrate “from actual fact ” that there is a “realistic danger” or that “a substantial number of instances exist in which” mistaken statements will be charged under the Act. N.Y. State Club, 487 U.S. at 11, 14, 108 S.Ct. 2225 (emphasis added); Taxpayers for Vincent, 466 U.S. at 801, 104 S.Ct. 2118. Both Alvarez and the majority, have failed to identify a single instance in which the Act has been applied in a context other than Alvarez’s: a simple lie about receiving a military honor.
Any overbreadth of the Act is also far from substantial “relative to the statute’s plainly legitimate sweep,” Williams, 553 U.S. at 292, 128 S.Ct. 1830, because, “[i]n the vast majority of its applications, [the *1239Act] raises no constitutional problems whatsoever,” id. at 303, 128 S.Ct. 1830. False claims of military valor have been increasing: “The FBI investigated 200 stolen valor cases last year and typically receives about 50 tips a month, triple the number that came in before the September 2001 terrorist attacks.” Christian Davenport, One Man’s Database Helps Uncover Cases of Falsified Valor, The Washington Post, May 10, 2010, available at http:// www.washingtonpost.com/wp-dyn/contenV article/2010/05/09/AR2010050903363.html? hpid=topnews (last visited July 6, 2010); see also Keith Rogers, Prosecuting Fraud Cases: Military Imposters Targeted, Las Vegas Review-Journal, June 25, 2010, available at http://www.lvrj.com/ ne ws/ military-impostors-targeted-97141054. html (last visited July 6, 2010) (“The problem of [military imposters] is fast reaching epidemic proportions.” (quotation marks omitted)). And again, neither the majority nor Alvarez has pointed to even one case involving a person who was mistakenly interpreted to have claimed a military award. Thus, this seems to me “the paradigmatic case of a ... statute whose legitimate reach dwarfs its arguably impermissible applications.” New York v. Ferber, 458 U.S. 747, 773, 102 S.Ct. 3348, 73 L.Ed.2d 1113 (1982); see also Magill v. Lynch, 560 F.2d 22, 30 (1st Cir.1977) (“Some sensitivity to reality is needed; an invalid application that is far-fetched does not deserve as much weight as one that is probable.”).
This case falls far short of the level of overbreadth that the Supreme Court has found to be “substantial.” In Ashcroft v. Free Speech Coalition, 535 U.S. 234, 122 S.Ct. 1389, 152 L.Ed.2d 403 (2002), for example, the Court was faced with a federal statute that “extended] the federal prohibition against child pornography to sexually explicit images that appeared] to depict minors but were produced without using any real children,” thus “proscribing] a significant universe of speech” that fell within neither the unprotected category of obscenity under Miller nor the unprotected category of child pornography under Ferber. Id. at 239-40, 122 S.Ct. 1389. The Court held that the statute was “substantially overbroad and in violation of the First Amendment.” Id. at 258, 122 S.Ct. 1389. In so holding, the Court reasoned that “teenage sexual activity and the sexual abuse of children[] have inspired countless literary works,” both ancient and contemporary, which “explore themes within the wide sweep of the statute’s prohibitions.” Id. at 247-48, 122 S.Ct. 1389 (emphasis added).
More recently, in Stevens, the Court addressed a statute establishing a criminal penalty for anyone who knowingly “create[d], s[old], or possesse[d] a depiction of animal cruelty,” where a “depiction of animal cruelty” was defined as one “in which a living animal is intentionally maimed, mutilated, tortured, wounded, or killed.” 130 S.Ct. at 1582; 18 U.S.C. § 48(a), (c)(1). In holding that the statute was unconstitutionally overbroad, the Court “read § 48 to create a criminal prohibition of alarming breadth,” emphasizing that the language of the statute would sweep in the “enormous national market for hunting-related depictions in which a living animal is intentionally killed,” and that “[t]hose seeking to comply with the law [would] face a bewildering maze of regulations from at least 56 separate jurisdictions.” Stevens, 130 S.Ct. at 1588-89 (emphases added). “The demand for hunting depictions exceeded] the estimated demand” for depictions that Congress could legitimately proscribe. Id. at 1589; see also, e.g., Bd. of Airport Comm’rs v. Jews for Jesus, Inc., 482 U.S. 569, 574-75, 107 S.Ct. 2568, 96 L.Ed.2d 500 (1987) (invalidating an ordinance that, “by prohibiting all protected expression [at Los Angeles International Airport], purported] to create a virtual *1240‘First Amendment Free Zone’ at [the airport],” potentially covering “virtually every individual who enter[ed] [the airport]”).
The statutes that we have held to be facially overbroad have also been significantly broader than the Stolen Valor Act. In Wurtz, for example, we addressed the constitutionality of Montana’s “intimidation statute,” which punished both constitutionally proscribable threats and those protected by the First Amendment. 719 F.2d at 1439, 1441. We held that the statute was unconstitutionally overbroad because it would sweep in “many relatively harmless expressions,” including such common expressions as “[t]hreats of sit-ins, marches in the street, mass picketing and other such activities.” Id. at 1442 (emphasis added). We concluded that the statute “applie[d] so broadly to threats of minor infractions, to threats not reasonably likely to induce a belief that they will be carried out, and to threats unrelated to any induced or threatened action, that a great deal of protected speech [wa]s brought within the statute.” Id. (emphasis added).
These cases illustrate the kind of significant overbreadth that satisfies the Broadrick standard. If the requirement of substantial overbreadth is to have any meaning, it compels the conclusion that, because there is virtually no potential for punishment of mistaken claims of military awards, the Act is not unconstitutionally overbroad in this regard.
B
Second, the majority argues that the Act might be applied to satire or other kinds of imaginative expression—such as a person who claims he has received a military decoration sarcastically, or while playing a role in a play or movie—and thus criminalizes even those statements that are plainly incredible and not worthy of actual belief. See Maj. Op. at 1213-14. The majority states: “[Wjhether it be method actors getting into character, satirists being ironic or sarcastic, poets using hyperbole, or authors crafting a story, creative persons often make factual statements or assertions which, as they are fully aware, are entirely untrue.” Id. at 1214. The majority presents examples of “[s]atirical entertainment such as The Onion, The Daily Show, and The Colbert Report.” Id. at 1213.
Although the Supreme Court has never so held, I am quite confident that satirical or theatrical statements claiming receipt of a military award are protected under the First Amendment. Provocative statements by satirists are not generally thought to come within the class of unprotected “false statements of fact” because these statements “could not reasonably [be] interpreted as stating actual facts.” Hustler, 485 U.S. at 50, 108 S.Ct. 876; see also Milkovich, 497 U.S. at 20, 110 S.Ct. 2695.
But claims about military decorations and medals made in an artistic context are not subject to prosecution under the most reasonable construction of the Act. Once again, “[f]acial overbreadth has not been invoked when a limiting construction has been or could be placed on the challenged statute.” Broadrick, 413 U.S. at 613, 93 S.Ct. 2908. Since the first definition of the word “represent” is “[t]o bring clearly before the mind,” WEBSTER’S at 1926, the Act can plausibly be interpreted to preclude its application to statements that cannot “reasonably [be] interpreted as stating actual facts,” Hustler, 485 U.S. at 50, 108 S.Ct. 876, because statements that cannot reasonably be interpreted to be true would not “bring clearly before the mind” of the listener that the speaker is stating actual facts about himself.
If, for example, Stephen Colbert mocked a president’s statement that he had “won” an ongoing war by proclaiming, sarcastically, “Right—and I won the Congression*1241al Medal of Honor,” I doubt that anyone would think that Colbert had “represented” himself as a Medal of Honor winner. Or, to take a second example, actor Tom Hanks “received” the Medal of Honor in the movie Forrest Gump. In fact, Lieutenant Dan could not have made it clearer in the movie that Forrest had received the Congressional Medal of Honor:
Lt. Dan: They gave you the Congressional Medal of Honor.
Forrest: Now that’s Lieutenant Dan. Lieutenant Dan!
Lt. Dan: They gave you the Congressional Medal of Honor!
Forrest: Yes sir, they sure did.
Lt. Dan: They gave you[,] an imbecile, a moron who goes on television and makes a fool out of himself in front of the whole damn country, the Congressional Medal of Honor.
Forrest: Yes sir.
Forrest Gzvmp (1994), available at http:// www.generationterrorists.com/quotes/.html (last visited July 6, 2010); see also The Karate Kid (1984) (representing that Mr. Miyagi, played by actor Pat Morita, had received the Congressional Medal of Hon- or for his heroism in World War II); The Next Karate Kid (1994) (showing Mr. Miyagi wearing the Congressional Medal of Honor). But we all understood the context: Tom Hanks qua Forrest Gump received the Medal of Honor. Forrest Gump cannot be charged with violating the Act and, so far as I am aware, Tom Hanks qua Tom Hanks has never “represented himself’ as a Medal of Honor recipient. I do not believe it realistic that anyone would think to accuse Colbert or Hanks of violating the Stolen Valor Act in these contexts. Assuming, as I must, that the Act will be applied with some modicum of common sense, it does not reach satire or imaginative expression.
I would conclude that the Act is reasonably susceptible to a limiting construction that eliminates any potential overbreadth and, even if the Act did have some degree of overbreadth, this overbreadth is not “substantial.” I would hold that the Act is not overbroad and therefore facially constitutional.
IV
The majority’s opinion is provocative, to say the least. It effectively overrules Gertz and its progeny and holds that false statements of fact generally receive First Amendment protection. It effectively overrules Garrison by holding that even knowingly false statements of fact are protected. It holds that a false statement of fact must produce “irreparable harm” in order to lose First Amendment protection, thus wholly confusing the concept of unprotected speech and calling into question the Supreme Court’s obscenity jurisprudence. And it strikes down an act of Congress on its face despite the most important consideration to this case: no person has ever been subjected to an unconstitutional prosecution under the Stolen Valor Act and, under any reasonable interpretation of the Act, it is extremely unlikely that anyone ever will be.
I respectfully dissent.

. The majority disagrees with my characterization of Gertz s principle as a “general rule” and of New York Times Co. v. Sullivan, 376 U.S. 254, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964), and its progeny as “exceptions.’’ The majority argues that “[t]he fundamental rule is found in the First Amendment itself: ‘Congress shall make no law ... abridging the freedom of speech.' ” Maj. Op. at 1205 (ellipsis in original) (quoting U.S. CONST. amend. I). Thus, the majority continues, “[a]ny rule that certain speech is not protected by this foundational principle is the exception, which may in turn be subject to other exceptions to *1221protect against such exceptions swallowing the rule.” Id.
The majority has misunderstood the concept of unprotected speech. It is not true, as the majority states, that "we presumptively protect all speech against government interference.” Id. The First Amendment does not protect all "speech” but rather "the freedom of speech,” which does not include those categories of speech traditionally considered outside of First Amendment protection. See John Paul Stevens, The Freedom of Speech, 102 YALE L.J. 1293, 1296 (1993) ("I emphasize the word 'the' as used in the term 'the freedom of speech’ because the definite article suggests that the draftsmen intended to immunize a previously identified category or subset of speech. That category could not have been coextensive with the category of oral communications that are commonly described as 'speech’ in ordinary usage.... The Amendment has never been understood to protect all oral communication.” (emphasis added)). Thus, the lack of protection afforded false statements of fact is no more of an "exception” to the First Amendment than the lack of First Amendment protection afforded the pulling of a gun trigger. Neither of these activities is considered part of "the freedom of speech,” so neither should be characterized as an exception to the First Amendment.


. Although the Court in Gertz "allow[ed] the States to impose liability on the publisher or broadcaster of defamatory falsehood on a less demanding showing than that required by New York Times," the Court held that damages are limited to "compensation for actual injury.” Gertz, 418 U.S. at 348-49, 94 S.Ct. 2997.


. The majority’s reliance on Justice Stevens’s opinion in Nike, Inc. v. Kasky, 539 U.S. 654, 123 S.Ct. 2554, 156 L.Ed.2d 580 (2003), see Maj. Op. at 1202-03, gives away its true in*1224tentions. In that case, Justice Stevens concurred in the Court’s dismissal of the grant of certiorari and, in a parenthetical, suggested that Gertz's statement that there is no constitutional value in false statements of fact was "(perhaps overbroad[]).” Id. at 664, 123 S.Ct. 2554. Justice Stevens stopped far short of suggesting that Gertz should be overruled, but that is the implication the majority takes away.


. Although BE &amp; K and Bill Johnsons did not involve the freedom of speech per se but rather the First Amendment right to petition, these decisions are further examples of the Court's reliance on Gertz s principle outside of the defamation context. See BE &amp; K, 536 U.S. at 531, 122 S.Ct. 2390 ("[F]alse statements [are] unprotected for their own sake ...(citing Gertz, 418 U.S. at 341, 94 S.Ct. 2997)); Bill Johnson's, 461 U.S. at 743, 103 S.Ct. 2161 (“Just as false statements are not immunized by the First Amendment right to freedom of speech, baseless litigation is not immunized by the First Amendment right to petition.'’ (citations omitted) (citing Gertz, 418 U.S. at 340, 94 S.Ct. 2997)).


. The majority is "not persuaded that Hoffman ... is anything more than a variation on defamation jurisprudence." Maj. Op. at 1208-09 n. 10. But although the false statements in Hoffman were arguably more like defamation than the false statements in Alvarez’s case, Hoffman and similar cases never*1227theless demonstrate that “false statements of fact” means “false statements of fact," not simply “defamation,” and that the former represents the historically unprotected category of speech, not the latter.


. I return to this point in Part II.C.


. Numerous statutes are called into question by the majority’s opinion. The following are just some of the statutes that punish false statements and do not appear to require proof of harm (including that the false statement be "material”): 18 U.S.C. § 1011 (punishing "any false statement ... relating to the sale of any mortgage, to any Federal land bank”); 18 U.S.C. § 1015(a) (punishing "any false statement under oath, in any case, proceeding, or matter relating to ... naturalization, citizenship, or registry of aliens”); 18 U.S.C. § 1026 *1231(punishing "any false statement for the purpose of influencing in any way the action of the Secretary of Agriculture ... in connection with ... farm indebtedness”); 18 U.S.C. § 1027 (punishing "any false statement” made "in any document required by [ERISA]”).


. I emphasize the fact that the Supreme Court has affhmatively excluded knowingly false statements from First Amendment protection rather than simply failed to include them. The majority argues that, "even if one agrees with the dissent that Gertz and its progeny require[] the historical category of unprotected speech at issue here [to] be defined as knowingly false factual speech per se, that is simply not enough to make the [Stolen Valor] Act immune from First Amendment analysis,” and that we would need to "guess what rule the Court would adopt for [knowingly false statements].” Maj. Op. at 1208 n. 9. The majority seems to suggest that the Supreme Court has not yet decided what degree of constitutional protection will be afforded knowingly false statements of fact. For the reasons I have explained above, I think the matter is quite to the contrary.


. The majority is “concern[ed] ... because of [the Act’s] potential for setting a precedent whereby the government may proscribe speech solely because it is a lie.” Maj. Op. at 1200. The majority fears that, under my interpretation, the government could “criminaliz[e] lying about one’s height, weight, age, or financial status on match.com or facebook, or falsely representing to one’s mother that one does not smoke, drink alcoholic beverages, is a virgin, or has not exceeded the speed limit while driving on the freeway.” Maj. Op. at 1200. Alvarez provides a similar parade of horribles, arguing that Congress could prohibit lying to one's children about the existence of Santa Claus.
But the fact that we might find the majority’s and Alvarez’s hypothetical laws troubling from a policy perspective is irrelevant to the First Amendment question. Garrison, Gertz, and Time could not have been clearer: knowing lies are unprotected by the First Amendment. Until the Supreme Court tells us otherwise, the proper target for the majority’s concerns is the legislature, not this court.


. I agree with the majority that if the Stolen Valor Act were subjected to strict scrutiny, the Act would not satisfy this test. See Maj. Op. at 1215-17. I simply do not agree that the Act should be subjected to strict scrutiny.


.The majority points out that, if I am correct, "the opinion in this case would need be no more than a few paragraphs in length,” and asserts that "the First Amendment requires more.” Maj. Op. at 1208 n. 9. The majority is correct that, in the Supreme Court’s cases involving false statements of fact, "the First Amendment analysis [wa]s ... rigorous,” id., in spite of the general unprotected nature of false statements of fact. But as discussed above, this "rigor” was necessary only to determine whether the Court was faced with one of the unique situations where New York Times's "actual malice” standard was necessary in order to protect speech that matters. See, e.g., Pickering, 391 U.S. at 574, 88 S.Ct. 1731; Time, 385 U.S. at 389-90, 87 S.Ct. 534; New York Times, 376 U.S. at 271-72, 84 S.Ct. 710. Here, there is no need to consider whether New York Times's standard applies because Alvarez indisputably did act with "actual malice.”


. Unlike the government, I do not propose that a scienter requirement be read into the Act.


. Indeed, because the majority does not hold that the Stolen Valor Act is unconstitutionally overbroad, it is unclear what relevance the Act's lack of a scienter requirement has even to the majority's holding with respect to Alvarez's facial challenge.


. The government might well be able to supply further evidence of the harm caused by false claims of military awards. The government did not brief this matter because Alvarez never argued that false statements of fact fall outside of First Amendment protection only if they produce a cognizable harm. Given the novelty of the majority's holding, it is not surprising that the government did not anticipate it.


. Broadrick dealt with a regulation of activities that had a First Amendment component but that were not "pure speech.” 413 U.S. at 615, 93 S.Ct. 2908. In New York v. Ferber, 458 U.S. 747, 102 S.Ct. 3348, 73 L.Ed.2d 1113 (1982), the Court extended Broadrick’s requirement of substantial overbreadth to cases involving "pure speech.” See id. at 772, 102 S.Ct. 3348 (reasoning that Broadrick's rationale "appears equally applicable to the publication of books and films as it is to activities, such as picketing or participation in election campaigns, which have previously been categorized as involving conduct plus speech”); see also Brockett v. Spokane Arcades, Inc., 472 U.S. 491, 503 n. 12, 105 S.Ct. 2794, 86 L.Ed.2d 394 (1985) ("The Court of Appeals erred in holding that the Broadrick ... substantial overbreadth requirement is inapplicable where pure speech rather than conduct is at issue. [Ferber ] specifically held to the contrary.”).


. Another conceivable "negligent” or "mistaken” claim is one in which the speaker mistakenly believes that he has won a military award, but I do not consider it realistic that a person (let alone a substantial number of people) would mistakenly believe that he has been awarded a “decoration or medal authorized by Congress for the Armed Forces of the United States.” 18 U.S.C. § 704(b).


. Although a reasonable limiting construction saves a statute from being held facially overbroad, the government's promise of reasonable prosecutorial discretion does not. See Stevens, 130 S.Ct. at 1591 ("We would not uphold an unconstitutional statute merely because the Government promised to use it responsibly.”).

